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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KEVIN F. JOHNSON,                        :
                                         :    CIVIL ACTION
     Petitioner,                         :    NO. 13-03197
                                         :
          v.                             :
                                         :
JOHN W. KERESTES, et al.,                :
                                         :
     Respondents.                        :


                                 ORDER

     AND NOW, this 24th day of July, 2023, upon consideration

of the record, it is hereby ORDERED that the Petition for Writ

of Habeas Corpus, inclusive of all its supplements and

amendments (ECF Nos. 1, 17, 36, 68, 93) is DENIED. It is

FURTHER ORDERED that:

    1. The Settlement Agreement (ECF No. 77) is DENIED.

    2. The Motions for Leave to File (ECF Nos. 92, 93, and 94)

       are GRANTED.

    3. The Clerk of Court is DIRECTED to remove the case from

       Suspense and then mark this case CLOSED.




          AND IT IS SO ORDERED.


                                         _______________________
                                         EDUARDO C. ROBRENO, J.
